
We granted the writ of certiorari in order to review the judgment of the Court of Criminal Appeals affirming the defendant's criminal conviction. That court affirmed by an unpublished memorandum, pursuant to Rule 54, Ala. R. App. P. The defendant argues that the trial court erred in permitting the State to impeach his credibility as a witness by eliciting evidence regarding his probationary status as a youthful offender.
We reverse. We adopt the reasoning of Judge Taylor, expressed in his opinion dissenting from the no-opinion affirmance.McCorvey v. State, 686 So.2d 424 (Ala.Crim.App. 1995). Judge Taylor stated:
 "As the basis for its holding, the majority relies upon . . . Davis v. Alaska, 415 U.S. 308, 94 S.Ct. 1105, 39 L.Ed.2d 347 (1974).
 "The majority, however, misapplies Davis. The Court's decision in Davis was based on balancing a juvenile delinquent witness's right to anonymity against a defendant's Sixth Amendment right to confront witnesses against him. This case does not present such a compelling constitutional reason to abrogate the long-standing policy of protecting the anonymity of juvenile offenders."
686 So.2d at 424.
REVERSED AND REMANDED.
HOOPER, C.J., and ALMON, SHORES, HOUSTON, and COOK, JJ., concur.
MADDOX, J., concurs specially.
BUTTS, J., dissents.